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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 08-20612-CR-SEITZ/O’SULLIVAN


  UNITED STATES OF AMERICA

  v.

  HASSAN SAIED KESHARI

  _________________________________/

                                            ORDER

          THIS MATTER is before the Court on defendant Hassan Saied Keshari’s Motion

  to Reopen Pre-Trial Detention Hearing Pursuant to 18 U.S.C. § 3142(f) (DE# 27,

  7/14/08) and Corrected Motion to Reopen Pre-Trial Detention Hearing Pursuant to 18

  U.S.C. § 3142(f) (DE# 35, 7/17/08). Having reviewed the applicable filings and the law,

  it is

          ORDERED AND ADJUDGED that defendant Hassan Saied Keshari’s Motion to

  Reopen Pre-Trial Detention Hearing Pursuant to 18 U.S.C. § 3142(f) (DE# 27, 7/14/08)

  is DENIED as moot. It is further

          ORDERED AND ADJUDGED that the defendant’s Corrected Motion to Reopen

  Pre-Trial Detention Hearing Pursuant to 18 U.S.C. § 3142(f) (DE# 35, 7/17/08) is

  DENIED.

          The defendant argues that the pretrial detention hearing should be reopened

  because “[t]he indictment, as well as . . . counsel’s investigation, has brought to light

  additional information . . . that severely undermines the government’s reasons for

  claiming that [the defendant] poses such a serious flight risk that no bond will suffice to

  reasonably assure his appearance.” See Hassan Saied Keshari’s Motion to Reopen
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  Pre-Trial Detention Hearing Pursuant to 18 U.S.C. § 3142(f) (DE# 27 at 2, 7/14/08).

  Under the Bail Reform Act, a pretrial detention hearing may be reopened:

          if the judicial officer finds that information exists that was not known to the
          movant at the time of the hearing and that has a material bearing on the
          issue whether there are conditions of release that will reasonably assure
          the appearance of such person as required and the safety of any other
          person and the community.

  18 U.S.C. § 3142(f). The defendant has not shown that he is entitled to reopen the

  pretrial detention hearing. The additional information proffered by the defendant does

  not have a material bearing on whether the defendant should be detained prior to trial.

  Much of the information contained in the instant motion was known to the defendant at

  the time of the pretrial detention hearing before the undersigned. Additionally, the Court

  does not find merit in the defendant’s claim that the government exaggerated or

  misrepresented the nature of the case.

          DONE AND ORDERED, in Chambers, at Miami, Florida, this 22nd day of July,

  2008.

                                              _______________________________
                                              JOHN J. O’SULLIVAN
                                              UNITED STATES MAGISTRATE JUDGE


  Copies mailed by Chambers to:

  U.S. District Judge Seitz
  All counsel of record




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